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             1 FOLEY & LARDNER LLP
               ATTORNEYS AT LAW
             2 555 SOUTH FLOWER STREET, SUITE 3300
               LOS ANGELES, CA 90071-2411
             3 TELEPHONE: 213.972.4500
               FACSIMILE: 213.486.0065
             4
                   ASHLEY M. MCDOW (STATE BAR NO.
             5     245114)
                   AMCDOW@FOLEY.COM
             6     Attorneys for Debtors and
                   Debtors-in-Possession, Scoobeez,
             7     Scoobeez Global, Inc., and Scoobur, LLC
                   SCOOBEEZ, et al.
             8

             9                                UNITED STATES BANKRUPTCY COURT
           10                                  CENTRAL DISTRICT OF CALIFORNIA
           11                                         LOS ANGELES DIVISION
           12      IN RE:                                             CASE NO. 2:19-bk-14989-WB
                                                                      Jointly Administered:
           13 SCOOBEEZ, ET AL.1                                       2:19-bk-14991-WB; 2:19-bk-14997-WB

           14               DEBTORS AND DEBTORS IN                    Chapter 11
                            POSSESSION.
           15                                                         SUPPLEMENTAL DECLARATION
                                                                      OF ASHLEY M. MCDOW IN
           16      Affects:                                           SUPPORT OF DEBTORS’
                                                                      APPLICATION TO EMPLOY FOLEY
           17      ■ All Debtors                                      & LARDNER LLP AS GENERAL
                                                                      BANKRUPTCY COUNSEL
           18      □ Scoobeez, ONLY                                   PURSUANT TO 11 U.S.C. §§ 327(A),
                                                                      330, 331 & 1107, RULES 2014(A) &
           19      □ Scoobeez Global, Inc., ONLY                      2016(B) OF THE FEDERAL RULES OF
                                                                      BANKRUPTCY PROCEDURE AND
           20      □ Scoobur LLC, ONLY                                LOCAL BANKRUPTCY RULE 2014-1
           21

           22                                                         [NO HEARING REQUIRED]
           23

           24               I, Ashley M. McDow, do hereby declare as follows:

           25               1.     I am an attorney admitted to practice before the United States District Court

           26      for the Central District of California. I am a partner with the law firm of Foley & Lardner

           27
                            1
                           The Debtors and the last four digits of their respective federal taxpayer identification
           28      numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
                   (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.

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             1     LLP (“Foley”). Foley is one of the largest law firms in the United States, with twenty-four
             2     offices worldwide and approximately 1,100 attorneys.
             3            2.      Foley was retained as general bankruptcy counsel to Scoobeez, Scoobeez
             4     Global, Inc., and Scoobur, LLC (collectively the “Debtors”), and such retention was
             5     approved by the above-captioned court (the “Court”) by entry of an order dated July 26,
             6     2019 [Dkt. No. 224].
             7            3.      I submit this supplemental declaration (the “Supplemental Declaration”) in
             8     connection with the Debtors’ Application to Employ Foley & Lardner LLP as General
             9     Bankruptcy Counsel Pursuant to 11 U.S.C. §§ 327(a), 330, 331, and 1107 of the
           10      Bankruptcy Code, Rules 2014(a) and 2016(b) of the Federal Rules of Bankruptcy
           11      Procedure and Local Bankruptcy Rule 2014-1 (together with any exhibits or attachments)
           12      (the “Application”). [Dkt. No. 116]2        This Supplemental Declaration is based upon
           13      information I derived from the business records of Foley.             If and when additional
           14      information becomes available concerning any relationship or connection between the
           15      creditors or interest holders of the Debtor(s) and Foley, I will submit a further supplemental
           16      declaration.
           17             4.      The Debtors are seeking to retain Hilco Real Estate, LLC (“Hilco”) to market
           18      a piece of real property in Glendale, California, which one or more of the Debtors have the
           19      option to purchase.
           20             5.      Foley currently represents Hilco Trading, LLC, an entity I understand to be
           21      related to Hilco, on a variety of matters unrelated to the Chapter 11 Cases. However, in
           22      the unlikely event that an actual conflict does develop between Foley and Hilco Trading,
           23      LLC, the Debtors will engage special conflicts counsel to handle any and all matters
           24      affected by such conflict.
           25             6.      In the past, Foley has represented Hilco Trading Co., Hilco Industrial, LLC,
           26      and Hilco Trading Company, Inc.; however all of these representations ended several
           27
                          2
           28               Certain defined terms not otherwise defined herein have the meaning set forth in the
                   Application.

                                                                   2
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             1     years before the Debtors retained Foley to commence their Chapter 11 Cases.
             2            7.     The fees billed to Hilco Trading, LLC by Foley in its last fiscal year were
             3     less than one percent (1%) of Foley’s revenue for that fiscal year.
             4            I declare under penalty of perjury under the laws of the United States of America
             5     that the foregoing is true and correct.
             6            Executed this 17th day of December, 2019, at Calabasas, California.
             7

             8
                                                                    _/s/ Ashley M. McDow
             9
                                                                    Ashley M. McDow, Esq.
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                                             PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
        A true and correct copy of the foregoing document entitled (specify):


        SUPPLEMENTAL DECLARATION OF ASHLEY M. MCDOW IN SUPPORT OF DEBTORS’
        APPLICATION TO EMPLOY FOLEY & LARDNER LLP AS GENERAL BANKRUPTCY COUNSEL
        PURSUANT TO 11 U.S.C. §§ 327(A), 330, 331 & 1107, RULES 2014(A) & 2016(B) OF THE FEDERAL
        RULES OF BANKRUPTCY PROCEDURE AND LOCAL BANKRUPTCY RULE 2014-1

        will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
        the manner stated below:


        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
        Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
        12/18/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
        following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                                   Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 12/18/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case
        or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
        class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
        will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                                    Service information continued on attached page



                                                                           (See Next Page)




        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
        for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
        the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
        such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
        that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
        filed.




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                                                                                                    Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
           12/18/2019               Sonia Gaeta                                        /s/ Sonia Gaeta
           Date                     Printed Name                                       Signature


        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                Richard W Esterkin richard.esterkin@morganlewis.com
                John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
                Riebert Sterling Henderson shenderson@gibbsgiden.com
                Vivian Ho BKClaimConfirmation@ftb.ca.gov
                David Brian Lally davidlallylaw@gmail.com
                Alvin Mar alvin.mar@usdoj.gov
                Ashley M McDow amcdow@foley.com,
                 sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
                Stacey A Miller smiller@tharpe-howell.com
                Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
                Shane J Moses smoses@foley.com
                Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
                Rejoy Nalkara rejoy.nalkara@americaninfosource.com
                Anthony J Napolitano anapolitano@buchalter.com,
                 IFS_filing@buchalter.com;salarcon@buchalter.com
                David L. Neale dln@lnbyb.com
                Aram Ordubegian ordubegian.aram@arentfox.com
                Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
                Gregory M Salvato gsalvato@salvatolawoffices.com,
                 calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
                Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
                Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
                United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
                Eric K Yaeckel yaeckel@sullivanlawgroupapc.com

        2. SERVED BY UNITED STATES MAIL:
      Scoobeez                                                 Accurate Background                                     ADT Security Services
      3463 Foothill Blvd.                                      7515 Irvine Center Drive                                PO Box 371878
      Glendale, CA 91214                                       Irvine, CA 92618                                        Pittsburgh, PA 15250-7878



      AE Works Enterprises, Inc.                               Alissa Guler                                            Amazon
      PO Box 4016                                              c/o Albert G. Stoll, Jr.                                1516 Second Avenue
      Chatsworth, CA 91313                                     55 Francisco Street, Suite 403                          Seattle, WA 98101
                                                               San Francisco, CA 94133




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      Amazon Web Services Inc.                                 App Group International, LLC                            Arturo Vega and Unta Key
      440 Terry Ave N                                          85 Broad Street, 17th Floor                             c/o Eric K. Yaeckel
      Seattle, WA 98109                                        New York, NY 10004                                      Sullivan Law Group, APC
                                                                                                                       2330 Third Avenue
                                                                                                                       San Diego, CA 92101

      Asana                                                    AT&T Corp.                                              Athens Services
      1550 Bryant Street, Suite 800                            c/o CT Corporation                                      14048 E. Valley Blvd.
      San Francisco, CA 94103                                  818 Seventh Street, Suite 930                           La Puente, CA 91746
                                                               Los Angeles, CA 90017


                                                                                                                       B-One Construction
      Avitus, Inc.                                             Azad Baban
                                                                                                                       c/o R. Sterling Henderson, Esq.
      c/o David M. Wagner, Esq.                                c/o Justin Silverman, Esq.
                                                                                                                       Gibbs Giden LLP
      Crowley Fleck, PLLP                                      Reisner & King LLP
                                                                                                                       1880 Century Park East 12th Floor
      P.O. Box 10969                                           14724 Ventura Blvd., Suite 1210
                                                                                                                       Los Angeles, CA 90067-1621
      Bozeman, MT 59719                                        Sherman Oaks, CA 91403

      Bernardo Parra                                           BMW Financial Services NA, LLC                          Booster Fuels
      c/o Mancini Law Group, P.C.                              Bankruptcy Servicer                                     11 N. Ellsworth Avenue
      7170 W. Grand Avenue                                     AIS Portfolio Servcies, LP                              San Mateo, CA 94403
      Elmwood Park, IL 60707                                   4515 N. Santa Fe Ave., Dept. APS
                                                               Oklahoma City, OK 73118

      California Franchise Tax Board                           Citation Department                                     City of Chicago
      Franchise Tax Board Bankr. Section                       Attn: Leslie Yang                                       Department of Finance
      PO Box 2952, MS:A-340                                    14002 East 21st St, #1500                               PO Box 88292
      Sacramento, CA 95812-2952                                Tulsa, OK 74134                                         Chicago, IL 60680


      City of Glendale Water & Power                           City of Los Angeles                                     Crescenta Valley Water District
      141 North Glendale Ave., Level 2                         Parking Violations Bureau                               2700 Foothill Blvd.
      Glendale, CA 91206                                       PO Box 30420                                            La Crescenta, CA 91214
                                                               Los Angeles, CA 90030


      Damage Recovery (EAN)                                    De'Von Walker                                           DMV
      PO Box 843369                                            c/o David Yeremian & Associates, In                     PO Box 825339
      Kansas City, MO 64184                                    535 N. Brand Blvd., Suite 705                           Sacramento, CA 94232
                                                               Glendale, CA 91203


      DSP Online Order                                         Earl Jones                                              Edvin Amzayan, c/o State of CA
      5825 Southwest Arctic Drive                              7441 Candleridge Circle                                 Dept. of Industrial Relations
      Beaverton, OR 97005                                      Fort Worth, TX 76133                                    Labor Commission Office
                                                                                                                       455 Golden Gate Ave., 10th Floor
                                                                                                                       San Francisco, CA 94102

      Edvin Yegiyan, c/o State of CA                           Employment Development Department                       Enterprise Holdings, Inc.
      Dept. of Industrial Relations                            PO Box 826215 MIC 3A                                    600 Corporate Park Drive
      Labor Commission Office                                  Sacramento, CA 94230-6215                               Saint Louis, MO 63105
      455 Golden Gate Ave., 10th Floor
      San Francisco, CA 94102


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      Fed Ex                                                   First Advantage                                         First Insurance Funding
      942 South Shady Grove Road                               1 Concourse Parkway NE                                  450 Skokie Blvd., Ste. 1000
      Memphis, TN 38120                                        Suite 200                                               Northbrook, IL 60062-7917
                                                               Atlanta, GA 30328


      Fleetwash Inc.                                           Gallik, Bremer & Molloy, PC                             Gemini Duplication, Inc.
      26 Law Drive                                             PO Box 70                                               6020 W. Oaks Blvd., Ste. 301
      Fairfield, NJ 7004                                       Bozeman, MT 59771                                       Lincoln, CA 95648



      Global Results Communications                            Google/G Suite Software                                 GTR Source LLC
      201 East Sandpointe Avenue                               1600 Amphitheatre Parkway                               1006 Monmouth Ave
      Suite 650                                                Mountain View, CA 94043                                 Lakewood, NJ 8701
      Santa Ana, CA 92707


      Halo Branded Solutions                                   Hertz Corporation                                       Hillair Capital Management LLC
      1500 Halo Way                                            14501 Quail Springs Parkway                             330 Primrose Road
      Sterling, IL 61081                                       Oklahoma City, OK 73134                                 Suite 660
                                                                                                                       Burlingame, CA 94010


      HOAG Memorial Hospital Presbyterian                      Hop Capital                                             Imran Firoz
      1 Hoag Drive                                             323 Sunny Isles Blvd., Suite 501                        c/o Brent Finch
      Newport Beach, CA 92663                                  Sunny Isles Beach, FL 33160                             Brent Finch Law
                                                                                                                       27200 Agoura Rd., Ste. 102
                                                                                                                       Agoura Hills, CA 91301

      Indeed, Inc.                                             Influx Capital LLC                                      Internal Revenue Service
      6433 Champion Grandview Way                              1049 Helen Avenue                                       Centalized Insolvency Operation
      Building 1                                               Santa Clara, CA 95051                                   PO Box 7346
      Austin, TX 78750                                                                                                 Philadelphia, PA 19101-7346


      Jacob Lee DeGough                                        Japeth Williams                                         Jassim M. Addal
      c/o Glenn Law Firm                                       209 W. Central Ave., Apt. D                             c/o Law Office of Arash Alizadeh
      1017 William D. Tate Ave.                                Monrovia, CA 91016                                      7545 Irvine Center Drive, Suite 200
      Suite 100                                                                                                        Irvine, CA 92618
      Grapevine, TX 76051

      Kenneth Burrell                                          Law Office of Todd M. Friedman, PC                      Liquid Web Inc.
      8901 Calden Ave., Apt. 401                               333 Skokie Blvd., #103                                  2703 Ena Drive
      South Gate, CA 90280                                     Northbrook, IL 60062                                    Lansing, MI 48917



      LiveAgent                                                Lockton Companies, LLC                                  Lois Craig
      c/o Quality Unit, LLC                                    Attn: Nate Mundy, COO                                   1708 S. Alma St.
      616 Corporate Way, Suite 2-3278                          Lockton Insurance Brokres, LLC                          San Pedro, CA 90731
      Valley Cottage, NY 10989                                 725 S. Figueroa, 35th Floor
                                                               Los Angeles, CA 90017


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      Lynn Riley                                               Mail Chimp                                              Maria Salgado
      c/o Clancy & Diaz, LLP                                   c/o The Rocket Science Group, LLC                       c/o Nicholas J. Tsakas, Esq.
      3645 Grand Avenue, Suite 306                             675 Ponce de Leon Ave. NE                               4267 Marina City Drive
      Oakland, CA 94610                                        Suite 5000                                              Suite 512
                                                               Atlanta, GA 30308                                       Marina Del Rey, CA 90292

      Marwan Griffin                                           Massinissa Bechout, c/o State of CA                     Mercedes-Benz Fin. Serv. USA LLC
      c/o Aegis Law Firm, PC                                   Dept. of Industrial Relations                           c/o The Corporation Trust Company
      9811 Irvine Center Drive                                 Labor Commission Office                                 Corporation Trust Company
      Suite 100                                                455 Golden Gate Ave., 10th Floor                        1209 Orange Street
      Irvine, CA 92618                                         San Francisco, CA 94102                                 Wilmington, DE 19801

      Minas Sarafian                                           Mostafa Joharifard                                      Nazareth Ohanessian
      c/o Simonian & Simonian, PLC                             1651 E. Edinger Ave.                                    1328 Doverwood Drive
      144 N. Glendale Ave., #228                               Suite 100                                               Glendale, CA 91207
      Glendale, CA 91206                                       Santa Ana, CA 92705


      Newport Urgent Care                                      NexGen Capital, LLC                                     Novel Coworking
      1000 Bristol St. North                                   c/o David Neale                                         c/o GABA Guerrini Law
      Suite 1B                                                 Levene Neale Bender                                     8583 Irvine Center Drive, Suite 500
      Newport Beach, CA 92660                                  10250 Constellation Blvd., #1700                        Irvine, CA 92618
                                                               Los Angeles, CA 90067

      Office of the Director                                   OrthoKinetix                                            Peter Rosenthal Irrevocable Trust
      Department of Motor Vehicles                             1835 Chicago Avenue                                     dated 10/31/2012
      2415 1st Avenue, MS: F101                                Suite A                                                 3450 N. Verdugo Rd.
      Sacramento, CA 95818-2606                                Riverside, CA 92507                                     Glendale, CA 91208


      Pex Cards                                                Quickbooks                                              Prince Uko, c/o State of CA
      462 7th Avenue                                           c/o Intuit Inc.                                         Dept. of Industrial Relations
      21st Floor                                               2700 Coast Avenue                                       Labor Commission Office
      New York, NY 10018                                       Mountain View, CA 94043                                 455 Golden Gate Ave., 10th Floor
                                                                                                                       San Francisco, CA 94102

      Queen Funding LLC                                        Ready Refresh                                           Raef Lawson
      2221 NE 164 ST                                           4400 S. Kolmar Ave.                                     8601 Lincoln Blvd.
      North Miami Beach, FL 33160                              Chicago, IL 60632                                       Ste. 180-276
                                                                                                                       Los Angeles, CA 90045


      Rafael Nendel - Flores                                   Roy Castelanos                                          Ready Refresh (Foothill Location)
      c/o LeClairRyan                                          c/o Employees' Legal Advocates, LLP                     4400 S. Kolmar Ave.
      725 S. Figueroa Street                                   811 Wilshire Blvd., Suite 800                           Chicago, IL 60632
      Suite 350                                                Los Angeles, CA 90017
      Los Angeles, CA 90017

      Ring Central                                             Scoobeez SF, LLC                                        Scoobeez Global, Inc.
      20 Davis Drive                                           1000 North Green Valley Parkway                         3463 Foothill Blvd.
      Belmont, CA 94002                                        Suite 440-477                                           La Crescenta, CA 91214
                                                               Henderson, NV 89074



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      Shoushana (Suzy) Ohanessian                              Southern California Gas Company                         Sean McNair
      1328 Doverwood Drive                                     PO Box 1626                                             c/o Hamed Yazdanpanah & Associates
      Glendale, CA 91207                                       Monterey Park, CA 91754-8626                            9454 Wilshire Blvd., 6th Floor
                                                                                                                       Beverly Hills, CA 90212


      Spectrum Business                                        Steve & Millessa Oberhauser                             Spectrum (San Antonio)
      c/o Charter Communications                               c/o Sanders Bajwa LLP                                   Time Warner Cable
      PO Box 790261                                            919 Congress Ave., Suite 750                            PO Box 60074
      Saint Louis, MO 63179                                    Austin, TX 78701                                        City of Industry, CA 91716


      Swizznet                                                 T-Mobile/T-Mobile USA Inc.                              SuperVision
      6075 California Avenue SW                                by American InfoSource as agent                         PO Box 21636
      Seattle, WA 98136                                        PO Box 248848                                           Saint Paul, MN 55121
                                                               Oklahoma City, OK 73124


      The Hertz Corporation                                    UPS                                                     Texas Department of Insurance
      Attn: Casey Rodriguez, Division VP                       55 Glenlake Parkway NE                                  Dividion of Workers' Compensation
      2 Schoephoester Road                                     Atlanta, GA 30328                                       7551 Metro Center Drive, Suite 100
      Windsor Locks, CT 6096                                                                                           Austin, TX 78744


      US Securities and Exchange Commissi                      USPS                                                    Upstream Capital Investments, LLC
      Attn: Bankruptcy Counsel                                 475 Lenfant Plaza SW                                    c/o Hemming & Associates, P.C.
      444 S. Flower St., Suite 900                             Washington, DC 20260                                    2522 Chambers Road, Suite 105
      Los Angeles, CA 90071-9591                                                                                       Tustin, CA 92780


      WG Fund LLC                                              Waller Lansden Dortch & Davis                           Verizon
      1734 8th Avenue                                          511 Union Street, Suite 2700                            PO Box 489
      Suite PH                                                 Nashville, TN 37219-8966                                Newark, NJ 07101-0489
      Brooklyn, NY 11215


      Amazon Logistics, Inc.                                   CT Corporation System                                   White and Williams LLP
      Attn: General Counsel                                    as Representative                                       1650 Market Street
      410 Terry Avenue North                                   330 N. Brand Blvd., Suite 700                           One Liberty Place, Suite 1800
      Seattle, WA 98109-5210                                   Attn: SPRS                                              Philadelphia, PA 19103-7395
                                                               Glendale, CA 91203

      Kirk Davis                                               Salvador Rivas                                          Deputy General Counsel
      c/o Law Offices of Daniel A. Kaplan                      c/o Law Offices of Daniel A. Kaplan                     The Hertz Corporation
      555 W. Beech St., Suite 230                              555 W. Beech St., Suite 230                             8501 Williams Rd., 2DO40
      San Diego, CA 92101                                      San Diego, CA 92101                                     Estero, FL 33928


      Shane R. Heskin                                          Emil Davtyan                                            Scoobeez SD, LLC
      White and Williams LLP                                   Davtyan Professional Law Corp.                          c/o Law Offices of Daniel A. Kaplan
      1650 Market Street                                       21900 Burbank Blvd., Suite 300                          555 W. Beech St., Suite 230
      One Liberty Place, Suite 1800                            Woodland Hills, CA 91367                                San Diego, CA 92101
      Philadelphia, PA 19103-7395


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      Graham S.P. Hollis                                       Camilla Alexander                                       Steven M. Spector
      Graham Hollis APC                                        Rental Insurance Service, Inc.                          BUCHALTER, A Professional Corporati
      3555 Fifth Avenue, Suite 200                             PO Box 10760                                            1000 Wilshire Blvd., Suite 1500
      San Diego, CA 92103                                      Gilbert, AZ 85233
                                                                                                                       Los Angeles, CA 90017

      Haleh Shekarchian Beverly Hills                          Bentley Financial Services                              Dr. Johnathan Nissanoff
      9440 Santa Monica Blvd.                                  Customer Service                                        Advanced Orthopedic Center, Inc.
      Suite 707                                                One Porsche Drive                                       15525 Pomerado Rd., Ste. E6
      Beverly Hills, CA 90210                                  Atlanta, GA 30354                                       Poway, CA 92064


      ExtraSpaceStorage                                        Garo and Aroussiak Dekirmendjian                        Calstar Motors, Inc.
      2244 S. Western Avenue                                   c/o Bulldog Commercial Real Estate                      700 S. Brand Blvd.
      Chicago, IL 60608                                        Attn: John Raudsep, President                           Glendale, CA 91204
                                                               3634 Woodcliff
                                                               Sherman Oaks, CA 91403

      Parkway Commercial Realty                                Scoobeez, SF LLC                                        Motorcars West/The Auto Gallery
      Attn: Laurence & Patricia Cesander                       1000 North Green Valley Parkway                         21301 Ventura Blvd.
      2485 E. Southlake Blvd.                                  Suite 440-477                                           Woodland Hills, CA 91364
      Southlake, TX 76092                                      Henderson, NV 89074


      Trust 5025983 LLC                                        Scoobeez Global, Inc.                                   Three Two Seven Family Mmgt LLC
      Series 1400 N. Cicero                                    3463 Foothill Blvd.                                     PO Box 120040
      c/o Nelson Hill - Emily Rasan                            Glendale, CA 91214                                      San Antonio, TX 78212
      1111 S. Western Avenue
      Chicago, IL 60612

      Shahan Ohanessian                                        Grigori Sedrakyan                                       Scoobur LLC
      1328 Doverwood Drive                                     1127 Sonora Ave.                                        3463 Foothill Blvd.
      Glendale, CA 91207                                       Glendale, CA 91201                                      Glendale, CA 91214



      Scoobeez NV, LLC                                         Questrade Inc.                                          Shoushana (Suzy) Ohanessian
      1000 North Green Valley Parkway                          5650 Yonge Street                                       1328 Dover Wood Drive
      Suite 440-477                                            North American Centre, Suite 1700                       Glendale, CA 91207
      Henderson, NV 89074                                      Toronto, ON M2M 4G3
                                                               Canada

      Credential Qtrade Securities Inc.                        RBC Dominion Securities Inc.                            BBS Securities Inc.
      One Bentall Centre, Suite 1920                           1922 Wyandotte Street E                                 4100 Yonge Street
      505 Burrard Street                                       Windsor, ON 48Y 1E4                                     Suite 507
      Vancouver, BC V7X 1M6                                    Canada                                                  Toronto, ON M2P 2B5
      Canada                                                                                                           Canada

      CIBC World Markets Inc.                                  National Bank Financial                                 BMO Nesbitt Burns Inc.
      161 Bay Street                                           1155 Metcalfe Street, 5th Floor                         1 First Canadian Place
      Brookfield Place                                         Montreal, QC H3B 4S9                                    Toronto, ON M5X 1H3
      Toronto, ON M5J 2S8                                      Canada                                                  Canada
      Canada


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      P I Financial Corp                                       TD Waterhouse                                           Scotia Capital Inc.
      666 Burrard Street                                       55 King Street W                                        40 King Street West, Scotia Plaza
      Suite 1900                                               Toronto Dominion Centre                                 PO Box 4085, Station A
      Vancouver, BC V6C 3N1                                    Toronto, ON M5K 1A2                                     Toronto, ON M5W 2X6
      Canada                                                   Canada                                                  Canada

      Apex Clearning Corporation                               Merrill Lynch                                           Wells Fargo Clearing Services LLC
      350 N. St. Paul Street, Suite 1300                       200 Park Ave., 13th Floor                               One North Jefferson
      Dallas, TX 75201                                         New York, NY 10166                                      St. Louis, MO 63103



      TD Ameritrade Clearing Inc.                              Ameriprise Financial                                    Charles Schwab & Co., Inc.
      200 S. 108th Ave.                                        55 Ameriprise Financial Ctr                             211 Main Street
      Omaha, NE 68154                                          Minneapolis, MN 55474-9900                              San Francisco, CA 94105



      RBC Wealth Management                                    US Bank                                                 LPL Financial
      675 E Sun Valley Rd., Suite 1100                         800 Nicollet Mall                                       75 State Street, 22nd Floor
      Ketchum, ID 83340                                        Minneapolis, MN 55402                                   Boston, MA 2109



      Pershing LLC                                             E*Trade Securities LLC                                  Citibank CGMI
      One Pershing Plaza, 10th Floor                           1271 Avenue of the Americas                             388 Greenwich Street
      Jersey City, NJ 07399-0001                               14th Floor                                              New York, NY 10013
                                                               New York, NY 10020-1302


      Davenport & Company LLC                                  Raumond James & Associates Inc.                         BB&T Securities LLC
      One James Center                                         880 Carillon Parkway                                    901 E. Byrd Street
      900 E. Cary Street, Suite 1100                           St. Petersburg, FL 33716-1102                           Riverfront Plaza, West Tower
      Richmond, VA 23219                                                                                               Richmond, VA 23219-3310


      BNY Mellon                                               Marcum LLP                                              National Financial Services LLC
      240 Greenwich Street                                     750 Third Avenue, 11th Floor                            640 Fifth Avenue
      New York, NY 10286                                       New York, NY 10017                                      New York, NY 10019



      Vanguard Brokerage Services                              Chrome Cap                                              Corporation Service Company
      400 Devon Park Drive                                     366 North Broadway                                      as Representative
      Wayne, PA 19087-1817                                     Jericho, NY 11753                                       PO Box 2576
                                                                                                                       Springfield, IL 62708


      Anna Wolf                                                FMS Inc.                                                Palm Funding, LLC and
      c/o Chester L. Cameron, Jr.                              PO Box 707600                                           RTR Recovery, LLC
      Taxman, Pollock, Murray & Bekkerman                      Tulsa, OK 74170-7600                                    122 E. 42nd Street, Suite 2112
      225 W. Wacker Dr, #1750                                                                                          New York, NY 10168
      Chicago, IL 60606


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